[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.] OPINION AND JUDGMENT ENTRY
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This matter is before the court on appeal from the Erie County Court of Common Pleas. On December 23, 1996, appellant, Addaryl Morris, was convicted of complicity to commit burglary. He received a one year prison sentence. At sentencing, he was informed that the parole board could increase his sentence up to fifty percent should he commit a crime in prison. According to the record before us, appellant has not yet had his prison sentence extended pursuant R.C. 2967.11. He now appeals setting forth five assignments of error challenging the constitutionality of R.C. 2967.11, the sentencing statute which provides for "bad time."
Appellant's five assignments of error are found not well-taken on the authority of this court's decision in State v.Somerlot, et al. (Jan. 23, 1998), Erie County App. No. E-97-02, unreported. Accord, State v. Davis (Dec. 31, 1997), Miami App. No. 97-CA-17, unreported. The judgment of Erie County Court of Common Pleas is affirmed. Costs assessed to appellant.
JUDGMENT AFFIRMED.
A certified copy of this entry shall constitute the mandate pursuant to App.R. 27. See, also, 6th Dist.Loc.App.R. 4, amended 1/1/98.
  _______________________________  Peter M. Handwork, P.J.
JUDGE
  _______________________________  George M. Glasser, J.
JUDGE
  _______________________________  Richard W. Knepper, J.
JUDGE
CONCUR.